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                  EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 20-cv-00133-RM

 GABRIEL VILLEGAS CASTRO,
 Petitioner,

 v.

 WILLIAM BARR, in his official capacity as United States Attorney General,
 MATTHEW ALBENCE, in his official capacity as Acting Director of U.S. Immigration and
 Customs Enforcement,
 CHAD WOLF, in his official capacity as Acting Secretary of Homeland Security,
 JOHN MARTINEZ, in his official capacity as Acting ICE Denver Field Office Director,
 and
 JOHNNY CHOATE, in his official capacity as warden of the Aurora Contract Detention
 Facility
 owned and operated by GEO Group Inc.,
 Respondents.




                    DECLARATION OF CHARLES J. VERNON. ESQ.



 I, Charles J. Vernon, pursuant to 28 U.S.C. § 1746, and based on my personal

 knowledge and information made known to me from official records reasonably relied

 upon by me in the course of my employment, hereby declare as follows relating to the

 above-captioned matter:


      1. I am attorney licensed by the Supreme Court of Colorado and employed as a

         Senior Staff Attorney with the Rocky Mountain Immigrant Advocacy Network

         (“RMIAN”) in Westminster, CO since August 27, 2018. RMIAN is a non-profit

         organization that provides free legal services to noncitizens detained in Aurora,

         Colorado as well as to families and detained youth before the non-detained court

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       in Denver, Colorado. Previously I was employed in various capacities at the

       Florence Immigrant and Refugee Rights Project (“FIRRP”) in Florence, AZ,

       beginning on January 3, 2012. FIRRP is a similar non-profit organization that

       affords legal services to clients at no cost.

    2. In the course of my employment for both organizations, a significant percentage

       of my caseload since 2013 has involved representing individuals in removal

       proceedings who are deemed incompetent to represent themselves and, as

       such, appointed counsel through the National Qualified Representative Program

       (“NQRP”). At FIRRP, such cases are also governed by the permanent injunction

       in Franco-Gonzalez v. Holder, No. CV-10-02211 DMG (DTBx), 2013 WL

       8115423 (C.D. Cal. Apr. 23, 2013). I represent the Petitioner, Gabriel Villegas

       Castro, in all aspects of his removal proceedings before the Executive Office for

       Immigration Review pursuant to an NQRP appointment.

    3. While at FIRRP, I regularly represented individuals by appointment pursuant to

       both Franco-Gonzalez and NQRP. As a result, I have extensive experience

       providing legal counsel to clients deemed mentally incompetent who sought and

       received custody redetermination hearings before the immigration court. A

       significant number of my clients, and those of my colleagues, were subject to

       mandatory detention under 8 U.S.C. §§ 1225(b), 1226(c), & 1231(a)(5), but

       nevertheless received bond hearings pursuant to the Franco-Gonzalez

       permanent injunction after six months of detention. Immigration judges released

       several numerous such clients on bond or conditional parole. Separately, it is

       within the discretion of the Department of Homeland Security to release people



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       who are otherwise subject to mandatory detention, as I have seen them exercise

       this authority on more than one occasion.

    4. While employed at FIRRP, I also regularly handled appeals before the BIA in

       both Franco/NQRP cases and in other removal cases. Additionally, through my

       prior duties at FIRRP under the Legal Orientation Program, which provides legal

       support to pro se litigants, assisted dozens of other respondents in removal

       proceedings with the process of filing their own appeals. Virtually all of these

       were matters involving detained respondents.

    5. In my experience, the BIA frequently suspends the prescribed the regulatory time

       frames for adjudication and disposition of appeals, even in detained cases. The

       BIA has the power to order supplemental briefing and oral argument, and may

       hold appeals in abeyance pending the outcome of another relevant matter. I have

       personally handled or been involved with three detained appeals where the BIA

       ordered supplemental briefing. Moreover, I have observed that where there is a

       dissenting opinion, the BIA has suspended the regulatory time frames.

    6. I have represented, supervised, or supported at least three detained appeals

       where the BIA took between 14 and 23 months to decide the appeal. These

       include In re V-P-, Axxx-xxx-344 (BIA June 29, 2017); In re D-M-R-, Axxx-xxx-

       524 (BIA June 9, 2015); and In re O-V-M-, Axxx-xxx-938 (BIA July 31, 2019).

       There were three separate IJ decisions, and three separate BIA appeals in In re

       D-M-R-. The first of the three appeals lasted approximately 23 months from the

       date of the immigration judge’s decision to the BIA’s decision remanding the




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       matter. Because these cases are not available on Westlaw, I am attaching them

       to my declaration.

    7. I have also assisted approximately ten pro se respondents at the Eloy Detention

       Center in Eloy, AZ, to file their detained appeals where I observed that the BIA

       took between one and three years to decide the appeal. In those cases, the BIA

       appeared to be holding the cases in abeyance pending a decision in Matter of A-

       R-C-G-, 26 I&N Dec. 388 (BIA 2014), which addressed the viability of a particular

       social group in relation to an asylum claim.

    8. The immigration court in Aurora, CO, appointed me to represent Mr. Villegas

       Castro in his removal proceedings pursuant to the NQRP. I first appeared on his

       behalf on March 8, 2019, and requested a two-week continuance to review the

       record of proceedings.

    9. On March 22, 2019, I again appeared on Mr. Villegas Castro’s behalf and

       requested the opportunity to submit a successive asylum application based on

       changed personal circumstances. The Department of Homeland Security (“DHS”)

       opposed the request, and the immigration judge ordered briefing by both parties.

       Briefing was completed on April 8, 2019.

    10. On April 23, 2019, at a master calendar hearing, the immigration judge

       announced his decision allowing Mr. Villegas Castro to proceed on a successive

       asylum application. He unilaterally adjourned the matter until May 17, 2019, to

       allow Mr. Villegas Castro time to prepare and submit the application where no

       continuance was requested. On May 17, 2019, I appeared with Mr. Villegas

       Castro and submitted the application on his behalf; the immigration judge then



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        set a merits hearing date of August 21, 2019. Neither party requested a

        continuance, and the hearing went forward on that date. The immigration judge

        took the matter under advisement and issued a decision granting Mr. Villegas

        Castro asylum on September 16, 2019.

    11. On October 7, 2019, the DHS submitted a Notice of Appeal from the immigration

        judge’s September 16, 2019 decision. Thereafter, the BIA issued a briefing

        schedule with a deadline for both parties of December 10, 2019. On Mr. Villegas

        Castro’s behalf, I timely filed a motion for summary affirmance of the immigration

        judge’s decision on that date.

    12. The DHS brief arrived at the BIA on December 11, 2019, and as it was untimely,

        the BIA rejected it. The DHS then resubmitted the brief on or about December

        23, 2019. The DHS also filed a motion to amend its opening brief on or about

        December 20, 2019. On Mr. Villegas Castro’s behalf, I filed oppositions to both

        motions on December 31, 2019. Neither party has submitted any additional

        briefs, motions, or other pleadings to the BIA as of this writing.


 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is all
 true and correct to the best of my knowledge and belief.



 _s/ Charles J. Vernon______                              Date: March 10, 2020

 Charles J. Vernon, Esq.
 Senior Staff Attorney
 Rocky Mountain Immigrant Advocacy Network
 7301 Federal Blvd Ste 300
 Westminster, CO 80030




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                                    U.S. Department of Justice
                                #:36138
                                                 Executive Office for Immigration Review

                                                 Board of Immigration Appeals
                                                 Office of the Clerk

                                                 5107 leesburg Pike, Suite 2000
                                                 Falls Church. Virginia 20530




                                                                                           Immigrant & Refugee Appellate Center, LLC | www.irac.net
 Vernon, Charles                                 DHS/ICE Office of Chief Counsel - EAZ
 Florence Immigrant and Refugee Rights           P.O. Box 25158
 Project                                         Phoenix, AZ 85002
 PO Box 654
 Florence, AZ 85132




 Name: R         D                               A



                                                 Date of this notice: 6/9/2015


Enclosed is a copy of the Board's decision and order in the above-referenced case.

                                       Sincerely,

                                    DcrutL cwvu
                                       Donna Carr
                                       Chief Clerk


Enclosure

Panel Members:
Adkins-Blanch, Charles K.
Greer, Anne J.
Miller, Neil P.



                                                     Userteam: Docket




              For more unpublished BIA decisions, visit
                  www.irac.net/unpublished/index/


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             U.S. Department of Justice                Decision of the Board oflmmigration Appeals
             Executive Office for Immigration Review

             Falls Church, Virginia 20530


             File:                   - Eloy, AZ                              Date:

             In re: D                          R          a.k.a. Maria Merida Espinosa a.k.a. Susana Lopez




                                                                                                               Immigrant & Refugee Appellate Center, LLC | www.irac.net
             IN REMOVAL PROCEEDINGS

             CERTIFICATION

             ON BEHALF OF RESPONDENT: Charles Vernon, Accredited Representative

             ON BEHALF OF DHS:                     Julie Nelson
                                                   Assistant Chief Counsel

             CHARGE:

                     Notice: Sec.     212(a)(6)(A)(i), I&N Act [8 U.S.C. § 1182(a)(6)(A)(i)] -
                                      Present without being admitted or paroled

                     Lodged: Sec.     212(a)(7)(A)(i)(I), I&N Act [8 U.S.C. § 1182(a)(7)(A)(i)(I)] -
                                      Immigrant - no valid immigrant visa or entry document

             APPLICATION: Asylum; withholding of removal; Convention Against Torture


                 The respondent, a 52-year-old native and citizen of El Salvador, appeals from the
             Immigration Judge's March 3, 2015, decision denying her applications for asylum, withholding
             of removal, and protection under the Convention Against Torture ("CAT"). The appeal will be
             dismissed in part and sustained in part.

                This case has a lengthy procedural history culminating in the Immigration Judge's
            certification of her March 3, 2015, decision to the Board following the Board's remand directing
            the Immigration Judge to apply recent jurisprudence on the evolving issue of particular social
            group. 1 See Matter of W-G-R-, 26 I&N Dec. 208 (BIA 2014), Matter of M-E-V-G-, 26 I&N
            Dec. 227 (BIA 2014), and Matter ofA-R-C-G-, 26 I&N Dec. 388 (BIA 2014).

                The factual basis of the respondent's claim was set forth in the Immigration Judge's initial
            decision on September 15, 2011, and is not meaningfully disputed by the parties (9/15/11 I.J.
            Dec. at 4-6). The respondent was subjected to repeated and severe abuse by the man she lived
            with for more than 15 years. The couple eventually had 5 children together, who were also
            abused. The respondent did not own any property or have money, and was afraid to call the
            police. The respondent testified that she knew of other women who were trapped in similar
            relationships.

            1
             There are three separate decisions from the Immigration Judge, which are identified by date
            when cited.


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        In 1996, the respondent first left El Salvador for Mexico. For 3 years, she returned to
    El Salvador each month because her children were still there and she was trying to bring them to
    Mexico. She described recurring problems with her partner when she made her return trips. In
    March 2001, the respondent first entered the United States without inspection. In 2005, she




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    returned to Mexico because one of her daughters was sick. Sometime later in 2005, she returned
    to the United States without inspection after several unsuccessful attempts. In 2009, the
    respondent was returned to Mexico by immigration officials. The respondent last entered the
    United States on November 15, 2009. In May 2011, one of the respondent's sons told her that
    her former partner still intends to harm her.

     An asylum application must be filed within 1 year of the applicant's last arrival in the United
 States. See section 208(a)(2)(B) of the Act; 8 C.F.R. § 1208.4(a)(2); Matter of F-P-R-,
 24 I&N Dec. 681 (BIA 2008). In her September 15, 2011, decision, the Immigration Judge
 found that the respondent's May 5, 2011, asylum application was not timely filed within 1 year
 of her November 15, 2009, arrival date (9/15/11 I.J. Dec. at 9). Although the respondent
 concedes that the record does not currently establish that she qualifies for an exception to the
 I-year filing deadline, she seeks an opportunity to further address this issue before the
 Immigration Judge.

     We conclude pursuant to our de novo review over questions of law that the respondent is
 ineligible for asylum under section 208 of the Act because she did not file a timely asylum
 application or establish that an exception applies. 2 See 8 C.F.R. § 1003.l(d)(3)(ii). The
 respondent has been in removal proceedings since 2011. She did not challenge the I-year bar
 finding in her initial appeal in 2011, and she has not advanced any arguments in the subsequent
 years that her failure to timely file was the result of changed or extraordinary circumstances.
 Under these facts, we decline to remand for further consideration of the issue. We therefore
 dismiss the respondent's appeal of the denial of her application for asylum. 3

    With respect to withholding of removal under section 241 (b)(3) of the Act, the Immigration
Judge found that the respondent met her burden of establishing that the harm she suffered rose to
the level of persecution within the meaning of the Act, and that the Salvadoran government was
unwilling or unable to control the persecutor in this case (9/15/11 I.J. Dec. at 11, 14). We agree
with the Immigration Judge's findings in these respects. The critical issue here is whether the
respondent defined a cognizable particular social group and if so, whether she was persecuted on
account of her membership in that particular social group. 8 C.F.R. § 1208.16(b)(l). The
respondent has advanced numerous social groups during the course of these proceedings (3/3/15


2
  Because the respondent is ineligible for asylum under section 208 of the Act, she is necessarily
ineligible for humanitarian asylum. See 8 C.F.R. § 1208.13(b)(l)(iii).
3
  The Immigration Judge found that the respondent had not been convicted of a particularly
serious crime barring her application for withholding of removal (9/15/11 I.J. Dec. at 14). The
DHS has not challenged this determination.



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  I.J. Dec. at 2). We will focus on the proffered social group defined as "El Salvadoran women in
  domestic relationships who are unable to leave."

     We recently held that depending on the facts and evidence in an individual case, victims of
 domestic violence can establish membership in a cognizable particular social group that forms
 the basis of a claim for asylum or withholding of removal. Matter of A-R-C-G-, supra. In that




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 case, we held that under the facts and evidence, "married women in Guatemala who are unable to
 leave their relationship" was a cognizable particular social group. We also recently clarified our
 particular social group jurisprudence. In doing so, we stated that an applicant seeking asylum or
 withholding of removal based on his or her membership in a particular social group must
 establish that the group is (1) composed of members who share a common immutable
 characteristic, (2) defined with particularity, and (3) socially distinct within the society in
 question (renaming the former concept of "social visibility"). Matter of M-E-V-G-, supra;
 Matter of W-G-R-, supra.

     Here, the Immigration Judge found that the proposed social group "El Salvadoran women in
 domestic relationships who are unable to leave" was distinguishable from "married women in
 Guatemala who are unable to leave their relationship" because the respondent was not married to
 Jose (3/3/15 I.J. Dec. at 3). The Immigration Judge also found that the group was not defined
 with particularity and did not meet the social distinction test (3/3/15 I.J. Dec. at 4).

     We disagree. First, we note that our decision in Matter of A-R-C-G-, supra, does not
 necessarily require that an applicant seeking asylum or withholding of removal based on
 domestic violence have been married to his or her abuser. Rather, we look to the characteristics
 of the relationship to determine its nature. Here, the respondent was in a lengthy relationship
 with her abuser, the couple had 5 children together, and the respondent tried to leave him on
 several occasions. These facts are similar to those in Matter of A-R-C-G-, supra, even though
 the respondent in that case was formally married to her abuser. We are thus satisfied that the
 respondent has established that members of her proffered social group share a common
 immutable characteristic of being women in domestic relationships that they are unable to leave.

     We also disagree with the Immigration Judge's conclusory finding that the group is not
 defined with particularity (9/15/11 I.J. Dec. at 10; 3/3/15 I.J. Dec. at 3). The terms used to
 describe the group - "women," "domestic relationship," and "unable to leave" can be sufficiently
 particular in society, and we find them to be so here. See Matter ofA-R-C-G-, supra at 393.

     We also disagree that "El Salvadoran women in domestic relationships who are unable to
 leave" is not socially distinct. In her September 15, 2011, decision, the Immigration Judge found
 that there "is nothing from a social perspective that would distinguish the member from the rest
 of the population or cause others in the proposed social group to recognize herself as a member
 of the group" (9/15/11 I.J. Dec. at 10). Notably, the group analyzed in that decision was "poor
 women in violent relationships in El Salvador," not "El Salvadoran women in domestic
 relationships who are unable to leave." The Immigration Judge does not further discuss the issue
 of social distinction (formally "social visibility") in her November 29, 2013, decision. In her
 most recent decision, she held that "while the record suggests that victims of domestic violence
 are viewed as a distinct group within society, as evidenced by laws and programs enacted for the


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 benefit of such group, the respondent's group does not appear to be as socially distinct" (3/3/15
 I.J. Dec. at 4). However, in our view, these facts found by the Immigration Judge support the
 proposition that the group is socially distinct. Moreover, the respondent testified that she knew
 other women in similar relationships and that it was normal in Salvadoran society to be trapped
 in bad relationships with no recourse from the police. Finally, the country conditions evidence




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 cited by the respondent on appeal supports our conclusion that the group is socially distinct
 (Respondent's Br. at 20-21).

      In light of the foregoing, we conclude that "El Salvadoran women in domestic relationships
 who are unable to leave" is a cognizable particular social group in this case. We further find the
 Immigration Judge's alternative determination that the group was not "one central reason" for
 the persecution to be clearly erroneous (9/15/11 I.J. Dec. at 11, 14; 11/29/13 I.J. Dec. at 3; 3/3/15
 I.J. Dec. at 4-5). See 8 C.F.R. § 1003.l(d)(3)(i); Matter of J-B-N- & S-M-, 24 I&N Dec. 208,
 214 (BIA 2007); Matter of N-M-, 25 I&N Dec. 526, 532 (BIA 2011) (a persecutor's actual
 motive is a matter of fact to be determined by the Immigration Judge and reviewed by this Board
 for clear error). The respondent's inability to leave the relationship in the broader context of
 Salvadoran society supports a nexus determination in this matter. See Matter ofA-R-C-G-, supra
 at 394. We therefore conclude that the respondent suffered past persecution on account of a
 particular social group. Accordingly, the burden shifts to the DHS to establish that there has
 been a fundamental change in circumstances such that the respondent no longer has a clear
 probability of future persecution. 8 C.F.R. § 1208.16(b)(l)(ii). Alternatively, the DHS bears the
 burden of showing that internal relocation is possible and is not unreasonable (Id.).

      The Immigration Judge made an alternative finding that even assuming that the respondent
 had established past persecution on account of a statutorily enumerated ground, the DHS met its
 burden of proof on both the changed country conditions and internal relocation issues (9/15/11
 I.J. Dec. at 14-15; 11/29/131.J. Dec. at 3; 3/3/151.J. Dec. at 5). The Immigration Judge reasoned
 that the respondent had not been back to El Salvador for many years, and "there has been some
 change in country conditions pertaining to the treatment of domestic violence matters." (9/15/11
 I.J. Dec. at 14-15) She further noted that the respondent's former domestic partner is now 59
 years old, and the respondent has family members in El Salvador that could assist her.

      We disagree with the Immigration Judge. In our view, these limited observations by the
 Immigration Judge are not sufficiently developed or linked to evidence in the record to support
 the conclusions she reached. Rather, based on the record, we conclude that the DHS has not met
 its burden of rebutting the presumption of future persecution or showing that internal relocation
 is possible and is not unreasonable. We therefore conclude that the respondent is eligible for the
 withholding of removal under section 241(b)(3) of the Act.

     Accordingly, the following orders will be entered.

    ORDER: The respondent's appeal of the denial of asylum under section 208 of the Act is
 dismissed.

     FURTHER ORDER: The respondent's appeal of the denial of withholding of removal under
 section 24l(b)(3) of the Act is sustained.


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    FURTHER ORDER: Pursuant to 8 C.F.R. § 1003.l(d)(6), the record is remanded to the
 Immigration Judge for the purpose of allowing the Department of Homeland Security the
 opportunity to complete or update identity, law enforcement, or security investigations or




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 examinations, and further proceedings, if necessary, and for the entry of an order as provided by
 8 C.F.R. § 1003.47(h).




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